     Case 2:14-cv-01107-MHH        Document 1      Filed 06/11/14       Page 1 of 19                                                     FILED
                                                                                                                          2014 Jun-12 PM 02:53
                                                                                                                          U.S. DISTRICT COURT
                                                                                                                              N.D. OF ALABAMA




                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ALAB~_:;; I I p 4: 2 I
                         SOUTHERN DIVISION
                                                                                                           l   •      •   J ~~·' l \ i

UNITED STATES OF AM~RICA                       )                    i   ' . _,   '   -   '_·   '   •   ~   '   t   =~· :-, >i 1\

ex rel. Marche• Atkins, Angel Calhoun,         )
Tammy Davis, Miesha Lindsey, and               )
Janey Watkins, Relators                        )
                                               )      Civil Action No.:
              Plaintiff,                       )
                                               )              CV-14-HA-1107-S
v.                                             )
                                               )     Jury Trial Requested
FORTIS INSTITUTE and                           )
EDUCATION AFFILIATES, LLC                      )     UNDER SEAL
                                               )
             Defendants                        )

                             QUI TAM COMPLAINT

                               I. INTRODUCTION

       1.    This is a qui tam action brought by Relators, Marche' Atkins, Angel

Calhoun, Tammy Davis, Miesha Lindsey, and Janey Watkins, on behalf of the United

States of America, pursuant to the False Claims Act, 31 U.S.C. § 3729 et seq. (the

"FCA").

      2.     The false claims at issue were caused to be made by Fortis Institute

("Fortis") and Education Affiliates, LLC ("EA"), in order to participate in the student

financial assistance programs authorized pursuant to Title IV ofthe Higher Education

Act ("HEA") of 1965, as amended 20 U.S.C. §§ 1070 et seq.
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                                     II. PARTIES

        3.    Defendant Fortis Institute is a for-profit institution that was established

in 1969 and is operated by Education Affiliates. Fortis Institute offers allied health

and medical career training programs including Licensed Practical Nursing, Medical

Assisting, Health Information Technology, Medical Laboratory Technology and

Health Records Technology.

        4.    Defendant Education Affiliates, LLC is headquartered in Baltimore,

Maryland, and owns post-secondary schools, such as Fortis, with a focus on high-end

healthcare programs and specialty trades. The Company operates 51 campuses across

17 states and an online platfonn. Since inception, Education Affiliates has completed

ten acquisitions. EA's revenue for 2012 was $387.23 million almost all of which was

received its participation in sttident financial assistance programs authorized pursuant

to Title IV of the Higher Education Act of 1965, as amended 20 U.S.C. §§ 1070 et

seq.

        5.   Relator Marche' Atkins ("Atkins") is a resident of Birmingham,

Alabama. Ms. Atkins has been enrolled as student in Fortis's Practical Nursing

program from January 3, 2011 to the present.

        6.   Relator Angel Calhoun ("Calhoun") is a resident of Gadsden, Alabama.

Ms. Calhoun has been enrolled as a student in Fortis's Practical Nursing program

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 from April 2012 to the present.

       7.     Relator Tammy Davis ("Davis") is a resident ofRainbow City, Alabama.

Ms. Davis has been enrolled as a student in Fortis's Practical Nursing program from

July 2012 to the present.

       8.    Relator Miesha Lindsey ("Lindsey") is a resident of Gadsden, Alabama.

Ms. Lindsey has been enrolled as a student in Fortis' s Practical Nursing program from

October 2012 to the present.

       9.    Relator Janey Watkins ("Watkins") is a resident Gadsden, Alabama.

Ms. Watkins has been enrolled as a student in Fortis's Practical Nursing program

from October 2012 to the present.

                       III. JlJRISDICTION AND VENUE

       10.   This Court has jurisdiction over the subject matter of this action under

28 U.S.C.A. § 1331and28 U.S.C.A. § 1345.

       11.   This Court has personal jurisdiction over the Defendant under 31

U.S. C.A. § 373 2( a), which authorizes nationwide service ofprocess and provides that

an action under the False Claims Act "may be brought in any judicial district in which

the defendant ... can be found, resides, transacts business, or in which any proscribed

by section 3729 occurred."




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          12.   Venue is proper in this district because Defendant can be found in,

 resides in, and/or transacts business in this district and because some of the violations

 of 31 U.S.C.A. § 3729 described in this complaint occurred in this district.

                                  IV. BACKGROUND

          13.   Each year the federal government provides financial aid to post-

secondary students in the form of grants, loans, and other assistance under Title IV.

To qualify for this aid, the institution and the program must be eligible. In addition,

the student must demonstrate financial need.

       14.      Fortis and EA, for profit corporations, assures students who enroll in

any of its medical career training programs that it will help them obtain more

desirable jobs and higher income to better their lives.

       15.      This offer com~s at a high price tag, however, and the low-income

consumers who Fortis and EA target can hardly afford to pay the high tuition out-of-

pocket. Specifically, Fortis and EA recruiters target African-American females for

their programs. 1 Oftentimes these individuals are single mothers looking to acquire

higher education to advance themselves and their children. Therefore, Fortis's and

EA 's business model relies on convincing these disadvantaged consumers to obtain



      1
      Almost 90% ofFortis's and EA's students are African-American and almost 80% are
women. See, Ex. A: National Center for Education Statistics.

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 federal aid, mostly loans, to pay them.

           16.   The total cost for the Practical Nursing program offered by Fortis and

EA averages about $25,240.00 or $356.00 per credit hour. On average, comparable

Practical Nursing programs offered by the State of Alabama's community and junior

college system cost $118.00 per credit hour. 2

           17.   Federal aid, mostly by way of loans, taken out by students comprises

the overwhelming majority of the Defendants revenue. 3 This is guaranteed money

received by the Defendants. Defendants also receive Federal Pell Grant money for

each qualifying student, which is also guaranteed.

       18.       Students do not directly receive the federal funds; rather, the Defendants

requests funds from the Department ofEducation or a third party intermediary lender.

The Department of Education or third party intermediary lender then wires the funds

directly into the Defendants accounts. The Defendants then credits its students for

tuition.




       2
        Defendants' pass rate for its graduates was 70.7% for FY '11-' 12 and 68.9% for FY '12-
, 13. Lawson State Community College's pass rate for that period was 100% at a cost of
$5,586.00. Lawson State Community College serves a predominantly poor student population
and over 90% of its students receive some form of federal government financial aid.
       3
        See Ex. B, Estimated Financial Aid Award Letter showing costs allocation as follows:
loans· 70% ; Federal Pell Grant awards 22%; and, Student is responsible for 8%.

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       19.    Students are responsible for repaying the federal government once they

graduate or stop attending school. Students who are disqualified for expelled from

school must still repay the federal loans.

       V. SUMMARY OF QEFENDANTS' FRAUDULENT CONDUCT

       20.   Defendants requested and received HEA funds for students through

several programs, including, but not limited to, the Federal Pell Grant Program

("Pell"); the Federal Supplemental Educational Opportunity Grant Program

("FSEOG"); the William D. Ford Federal Direct Loan ("Direct Loan"); and the

unsubsidized Stafford Loans.

      21.    For Defendants to be eligible for these Federal Funds, federal statutes

and regulations mandate Defendants certify to the United States Government that

they will comply with HEA's requirements.

      22.     Accordingly, Defendants were required to execute a Program

Participation Agreement ("PP A"), under which they must agree to and adhere to inter

alia the following provisions:

      a.     [The institution] will not make false, erroneous or misleading statements
             concerning: ( l) its size, location, facilities, or equipment; (2) the
             availability, frequency, and appropriateness of its courses and programs
             to the employment objectives that it states its programs are designed to
             meet; (3) the number, availability, and qualifications, including the
             training and experience, of its faculty and other personnel; (4) the
             nature or extent of any prerequisites established for enrollment in any

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              course; and, (5) the subject matter, content of the course of study, or any
              other fact related to the degree, diploma, certificate of completion, or
              any similar document that the student is to be, or is, awarded upon
              completion of the course of study.

20 U.S.C.A. § 1094; 34 CFR § 668.71; 34 CFR § 668.72.

       23.   Defendants have fraudulently violated the requirements of the PPA and

the HEA in the manners set forth below.

       24.   Defendants made false representations to the students that it had an

adequate number of faculty to meet the needs of the program. Defendants never had

adequate faculty staffing and on numerous occasions students arrived for classes only

to be told to go home or to engage in "independent study" because there was no

instructor present.

      25.    Because several faculty resigned during mid-semester, the Defendants

handed off the course-work to interim faculty. In many instances, the interim faculty

did not provide classroom or clinical instruction at all. At any one time there were

approximately 75 students enrolled at Fortis and EA

      26.    When the students complained about the lack of classroom or clinical

instruction they were told that competent professionals would be hired to replace the

interim faculty, however, this was a misrepresentation.




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       27.    Defendants fraudulently required the students to retake courses that they

had successfully completed because it had not established clinical learning

experiences for maternal/child and adult nursing. Requiring the students to repeat the

courses delayed their graduation dates by nine (9) to twelve (12) months.

       28.    Defendants falsely certified as eligible for graduation students who

had failed to have clinical .experiences in the areas of maternal/child and adult

nursing. These students were unable to pass the state licensing exam.

       29.   Students observed that in contravention of their handbook, Defendants

faculty had no clinical orientation to the teaching materials required forthe successful

completion of the program or the clinical facilities. Furthermore, there were no

clinical rotation schedules or clinical assignment sheets. Students would receive

emails the night before notifying them of their clinical placement.

      30.    Faculty responsible for students obtaining clinical hours instructed

students to fraudulently count travel time to and from a clinical site as hours spent

learning. This fraudulent practice was designed to dupe the State of Alabama Board

of Nursing into believing that the requisite number of clinical hours had been

acquired.

      31.    Defendants faculty continuously misrepresented to students their

eligibility to graduate and whether they had completed the pre-requisites to sit for the

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state licensing exam.

       32.     Defendants fraudulently charged students for textbooks and other

materials that were never received by them. Whenever school administrators were

confronted about these fraudulent practices, they represented that it would be taken

care of and that would be the last word anyone received.

       33.     Despite not providing clinical instruction, Defendants fraudulently gave

complete grades to students for classes that required clinical and classroom

instruction.

      34.      A school administrator confronted by students about the fraudulent

practices stated, "we have your money so we don't care whether you graduate or not."

To conceal the fraudulent activity, the Director of the Nursing program discouraged

students from contacting the State of Alabama Nursing Board with veiled threats of

retribution in the form of barring whistleblowers from ever taking their state boards.

                                      COUNT I

                      (Violation of 31 U.S.C. § 3729(a)(1):
             Submission of a False or Fraudulent Claim for Payment)

      35.      Plaintiffs-Relators Marche' Atkins, Angel Calhoun, Tammy Davis,

Miesha Lindsey, and Janey Watkins re-allege and incorporate by reference

paragraphs 1through34 of this Complaint.


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       36.    This is a claim for damages and civil money penalties under the False

ClaimsAct,31U.S.C.§3729,etseq.,againstDefendantsFORTIS INSTITUTE AND

EDUCATIONAL AFFILIATES, LLC knowingly presenting or causing to be

presented false or fraudulent claims for payments from the United States, through

Federal Pell Grants, Federal SEOG, Direct Subsidized Loan, and Direct Unsubsidized

Loan, all in violation of31U.S.C.§3729(a)(l).

       37.    Claims for payment of TITLE IV funds can be made in a variety of

ways, conditioned upon the School's execution of its Program Participation

Agreement. These claims were false or fraudulent because the defendant

misrepresents the nature and requirements of the education.

       38.   Defendants FORTIS INSTITUTE and EDUCATION AFFILIATE,LLC

presented or caused to be presented these claims for payment to the United States,

knowing such claims were false or fraudulent.

       39.   By virtue of the false or fraudulent claims presented or caused to be

presented by the defendants the United States has suffered actual damages in an

amount to be determined at trial, is entitled to recover three times the amount by

which it was damaged, plus civil money penalties of not less than $5,000 and not

more than $10,000 for each of the false or fraudulent claims presented or caused to

be presented, plus interest, attorney's fees, and costs.

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                                    COUNT II
                       (Violation of 31 U.S.C. § 3729(a)(2):
                          Creation or Use of a False or
                    Fraudulent Statement to Obtain Payment)

       40.   Plaintiffs-Relators Marche' Atkins, Angel Calhoun, Tammy Davis,

Miesha Lindsey, and Janey Watkins hereby re-alleges and incorporates by reference

paragraphs 1 through 39 of this Complaint.

       41.   Defendants knowingly made, used, or caused to be made or used, false

or fraudulent statements and certifications to get a false or fraudulent claim allowed

or paid by the United States, in violation of 31 U.S. C. § 3729(a)(2).

       42.   The United States has been damaged by the creation or use, or both, of

false statements to obtain fraudulent payments or approval by defendants in an

amount to be proven at trial.

      43.    The United States has suffered actual damages and is entitled to recover

three times the amount by which it was damaged, plus civil money penalties of not

less than $5,000 and not more than $10,000 for each of the fraudulent claims

presented or caused to be presented, plus interest, attorney's fees, and costs.

                                   COUNT III
                       (Violation of 31 U.S.C. § 3729(a)(3):

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                        Conspiracy to Defraud By Getting a
                    False or Fraudulent Claim Paid or Allowed)

       44.    Plaintiffs-Relators Marche' Atkins, Angel Calhoun, Tammy Davis,

Miesha Lindsey, and Janey Watkins hereby re-allege and incorporate by reference

paragraphs 1 through 43 of this Complaint.

       4 5.   Defendants and others known and unknown did combine, conspire,

confederate, and agree, and reach an understanding and agreement, both express and

implied, with each other and with others, to defraud the United States by getting false

or fraudulent claims paid or allowed, in violation of 31 U.S. C. § 3729(a)(3).

       46.    The United States has been damaged by the creation or use, or both, of

false records to obtain fraudulent payments or approval by defendants in an amount

to be proven at trial.

      47.     The United States has suffered actual damages and is entitled to recover

three times the amount by which it was damaged, plus civil money penalties of not

less than $5,000 and not more than $10,000 for each of the fraudulent claims

presented or caused to be presented, plus interest, attorney's fees, and costs.

                                 JURY DEMAND

          PLAINTIFF DEMANDS A TRIAL BY A STRUCK JURY.




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                                            Respectfully submitted,

                                            ls/Roderick T. Cooks
                                            Roderick T. Cooks

                                            /s/Lee Winston
                                            Lee Winston

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DEFENDANTS' ADDRE$SES:
Education Affiliates, Inc.
5026-D Campbell Blvd.
Baltimore, MD 21236
Phone:410-633-2929

Fortis Institute Birmingham - Hoover
100 London Pkwy Ste 150
Birmingham, AL 35211
(205) 940-7800

REGISTERED AGENT:
Corporation Service Company
2711 Centerville Road
Suite 400
Wilmington, DE 19808

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                    Exhibit A
                                            Case 2:14-cv-01107-MHH               Document 1          Filed 06/11/14   Page 15 of 19
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Fort.
UnitlD
OPEID
              >ata Center
            stitute
                  455628
                  03010803
Address           100 London Pkwy Ste 150, Birmingham, AL, 35211
Web               www.fortis.edu
Address



'~Eil'\erallnf()rroation

Institution Characteristics

Sector:                       Private for-profit, 2-year
Carnegie Classification:      Not applicable, not in Carnegie universe (not accredited or nondegree-granting)
Campus Setting:               City: Midsize
Title IV Institution:         Participates in Title IV federal financial aid programs
Religious Affiliation:        Not applicable
On Campus Housing:            No
Total dormitory capacity:     0

Awards Offered

Less than one year certificate
One but less than two years certificate
Associate's degree
Two but less than 4 years certificate

financial aod Hun'lar'I ~esou rces
Number of staff by primary function/occupational activity: Fall 2011

                                              Full time              Part time               Total

Primarily instruction                         4                       51                      55
Instruction/research/public service           0                       0                       0
Primarily research                            0                       0                       0
Primarily public service, and Contracts       0                       0                       0
Executive/ adrni nistrative/ manag eria I     13                      0                       13
Other professional (support/service)          23                      6                       29
Graduate assistants                           0                       0                       0
Technical and paraprofessionals               0                       0                       0
Clerical and secreterial                      1                       4                       5
Skilled crafts                                0                       0                       0
                                                Case 2:14-cv-01107-MHH      Document 1     Filed 06/11/14   Page 16 of 19
    Early Fall Estimates: Fall 2012

i                                                Part-time      Full-time          Total

    Total enrollment                             0              875                875
    Undergraduate                                0              875                875
      First-time Degree/Certificate Seeking      0              131                131
    Graduate

    Fall Enrollment: fall 2012

    Total student enrollment                     Part-time      Full-time          Total

    Men                                                         197                197
    Women                                                       748                748

    American Indian or Alaska Native                            5                  5
    Asian                                                       10                 10
    Black or African American                                   820                820
                                                                                                                            g-'1, 1'3
    Hispanic                                                    9                  9
    Native Hawaiian or Other Pacific Islander                   0                  0
    White                                                       92                 92
    Two or more races                                           2                  2
    Race/ethnicity unknown                                      6                  6
    Nonresident alien                                           1                  1

    Undergraduate student enrollment             Part-time      Full-time          Total



    Men                                                         197                197
    Women                                                       748                748
    American Indian or Alaska Native                            5                  5
    Asian                                                       10                 10
    Black or African American                                   820                820
    Hispanic                                                    9                  9
    Native Hawaiian or other Pacific Islander                   0                  0
    White                                                       92                 92
    Two or more races                                           2                  2
    Race/ethnicity unknown                                      6                  6
    Nonresident alien                                           1                  1


    Degree/Certificate Seeking                                  945               945
      First-time                                                69                69
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   ·11•n 11a w
By gender, 2012

              By gender                             Certificates             Certificates            Associate's                       Bachelor's       Master's     Doctor's          Doctor's             Doctor's
                                                      Below                    Above                                                                                research/        professional            other
                                                    Bachelor's               Bachelor's                                                                            scholarship         practice

Men                                                 67                       0                   1                                0                 0              0                 0                      0

Women                                               268                      0                   9                                0                 0              0                 0                      0
                 ·--·· -------·--------· --------···-·---------   --- ----                 -   -------~-·-   -- _____   .,   - . --·                                             -------            ----··---

By Race/Ethnicity
American Indian or Alaska Native                    1                        0                   0                                0                 0              0                 0                      0

Asian                                               2                        0                   0                                0                 0              0                 0                      0

Black or African American                           288                      0                   10                               0                 0              0                 0                      0

Hispanic or Latino                                  2                        0                   0                                0                 0              0                 0                      0

Native Hawaiian or Other Pacific                    0                        0                   0                                0                 0              0                 0                      0
Islander
White                                               38                       0                   0                               0                  0              0                 0                      0

Two or more races                                   1                        0                   0                               0                  0              0                 0                      0

Race/ethnicity unknown                             3                         0                   0                               0                  0              0                 0                      0

Nonresident alien                                  0                         0                   0                               0                  0              0                 0                      0

By Cip Code, 2012

              By Cip Code                               Certificates             Certificates         Associate's                      Bachelor's       Master's         Doctor's            Doctor's           Doctor's
                                                          Below                    Above                                                                                research/          profess Iona I        other
                                                        Bachelor's               Bachelor's                                                                            scholarship           practice

Mechanic and Repair                                     49
Technologies/Technicians
Health Professions and Related                          286                                          10
Programs
Grand total                                             335                                          10
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                    Exhibit B
                                                   Case 2:14-cv-01107-MHH                          Document 1                       Filed 06/11/14       Page 19 of 19



                                                                  Fortis Institute
                                                     ESTIMATED FINANCIAL AID AWARD LETTER
Name: Angel Calhoun                                                        Program: Practical Nursing                                            SSN: xxx-xx-2740
Start Date: 4/212012                                                       Graduation Date: 9127/2013
RETURN FROM LOA
                                                            Academic Year 1                   Academic Year 2
                                                              41212012   712/2012   112/2013    411/2013   7/8/2013
                                                            Term 1     Term 2     Term 3      Term4      Terms
FA Credits                                                        12.2         12        19.5       13.2         14
Tuition                                                      $4,389.00 $4,389.00 $4,389.00 $4,389.00 $4,389.00
Books/Supplies/Fees                                            $430.00    $250.00    $250.00     $250.00    $200.00
~egistration Fee                                               $150.00      $0.00      $0.00       $0.00      $0.00
Jn1fcm ns ana PN Kit                                           $100.00      $0.00      $0.00       $0.00      $0.00
Admission Testing Fee-HES!                                      $95.00      $0.00      $0.00       $0.00      $0.00
HESI Assessment Testing                                        $175.00    $175.00    $175.00     $175.00    $175.00
Instructional Materials Fee                                    $100.00    $100.00    $100.00     $100.00    $100.00
PN Licensure Testing Fee NCLEX                                   $0.00      $0.00      $0.00       $0.00    $120.00
Completion Fee                                                   $0.00      $0.00      $0.00       $0.00     $75.00 Total Cost of Program
Total Cost                                                   $5,439.00 $4,914.00 $4,914.00 $4,914.00 $5,059.00             $25,240

  FPderal Pell Grant                        $5,550               $0.00      $1,850.00      $1,850.00             $1,850.00               $0.00
  Federal SEOG                              $300                 $0.00        $100.00        $100.00               $100.00               $0.00
  Direct Subsidized Loan (Net)              $6,868           $1,162.00      $1,162.00      $1,161.00             $1,692.00           $1,691.00
  Gross Total Sub Loan Amount               $6,902
  Direct Unsubsidized Loan (Net)            $10,481          $1,990.00      $1,990.00      $1,990.00             $2,256.00           $2,255.00      Total Loans
  Gross Total Unsub Loan Amount             $10,533                                                                '),-i(c<,r&                        $17,436
                                                                                                   . IC· 1' de
                                                                              51 Od                                I'· I ~o_--1
                                                               j- )7-1
  Direct PLUS (Net)                                                                           j)(.
                                                                                                                            ,,, .
  Gross Total PLUS Loan Amount                                                               :)·07U
  State Grant
  NIA                                       $0
: Student Payment                                                $25.00          $0.00             $0.00                $0.00           $0.00

Total Estimated Financial Aid                                $3,177.00      $5,102.00      $5,101.00             $5,898.00           $3,946.00

Balance Remaining                                 $2,262.00                  -$188.00      -$187.00    -$984.00                      $1,113.00
Balance remaining will be set up in monthly payments                                     Total Balance: $                               $2,016
                                                                                                                                                                                       .,L   l! )·_)
This is an estimate of the Financial Aid you may qualify for, and may change due to Federal Regulations, eligibility status, enrollment status and satisfactory
progress. Grant funds do not have to be repaid if you complete the program. Subsidized Stafford Loan has No Principal or Interest payments while student is
attending at least half-time. Unsubsidized Stafford Loan has No Principal payments while student is attending at least half-time. Student is responsible for
Interest and may make payments or allow accruing and capitalizing. Repayment for both Subsidized & Unsubsidized Stafford loans starts 6 months after last                                      "
day of attendance of at least half time status, with a fixed interest rate at 3.5% on subsidized loans and 6.8% on unsubsidized loans, $50 minimum monthly
payment. Federal PLUS Loan has a fixed interest rate at 7.9%. Repayment begins afterfull amount borrowed has been disbursed. THE STAFFORD AND PLUS
                                                                                                                                                                                     I, l l3.c5u
LOANS MUST BE REPAID! If you have any questions, please talk to the Financial Aid Director.             .., (\  . fl ··\                                             /'
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